               Case 2:20-cr-00054 Document 125 Filed 07/20/21 Page 1 of 2 PageID #: 755

                                  District Judge Daybook Entry

           United States District Court - Southern District of West Virginia at Charleston
 Date: 7/20/2021                   Case Number 2:20-cr-00054

 Case Style                 USA vs. Nedeltcho Vladimirov
 Type of hearing            Criminal Jury Trial - Day 2
 Before the Honorable: 2516-Berger
 Court Reporter             Lisa Cook                                     Courtroom Deputy Kierstin Tudor
 Attorney(s) for the Plaintiff or Government
 Andrew Tessman & Erik Goes
 Attorney(s) for the Defendant(s)
 Timothy LaFon
 Law Clerk                  Claire Jarrell
 Probation Officer

                                                       Court Times

  Start Time         Stop Time                                      Court Time Description

    8:30 AM           8:44 AM                  Court actively conducting trial proceedings/Contested proceedings


    9:00 AM          10:32 AM                  Court actively conducting trial proceedings/Contested proceedings


   10:51 AM          11:49 AM                  Court actively conducting trial proceedings/Contested proceedings


    1:26 PM           3:34 PM                  Court actively conducting trial proceedings/Contested proceedings


    3:53 PM           4:14 PM                  Court actively conducting trial proceedings/Contested proceedings


Court actively conducting trial proceedings/Contested proceedings 05:13


                                                      Courtroom Notes

Jury Trial – Day 2

Court resumed at 8:30 a.m.
Court addresses matters with counsel.
Government intends to tender 3 retail specials as experts; Defendant objects.
Court hears from parties.
Court will permit witnesses to testify.
Court takes recess at 8:44 a.m.

Court resumed at 9:00 a.m.
Jury present.
GOVERNMENT calls DEVON SELBEE; oath given.
Direct by Mr. Tessman.
Gov’t Ex 12 marked and admitted.
                Case 2:20-cr-00054 Document 125 Filed 07/20/21 Page 2 of 2 PageID #: 756
Cross by Mr. LaFon.
Redirect.
GOVERNMENT calls VIVIAN VEREZOVSKIY; oath given.
Direct by Mr. Tessman.
Gov’t Ex 38 marked and admitted.
Gov’t Ex 39 marked and admitted.
Cross by Mr. LaFon.
GOVERNMENT calls JOSE VARELA; oath given.
Direct by Mr. Goes.
Witness tendered as expert; questioned by Mr. LaFon re: the same.
Court GRANTS motion that witness be qualified as an expert.
Direct by Mr. Goes continues.
Court takes recess at 10:32 a.m.

Court resumed at 10:51 a.m.
WITNESS VARELA resumes stand.
Direct by Mr. Goes continues.
Cross by Mr. LaFon.
Government calls HERB SHELTON; oath given.
Direct by Mr. Goes.
Gov’t 73 marked and admitted.
Cross by Mr. LaFon.
Court takes recess at 11:49 a.m.

Court resumed at 1:26 p.m.
Government calls STEVE ROWLEY; oath given.
Direct by Mr. Tessman.
Gov’t Ex 68 marked and admitted.
Gov’t Ex 60 marked and admitted (with redaction).
Gov’t Ex 62 marked and admitted (with redaction).
Gov’t Ex 64 marked and admitted (with redaction).
Gov’t Ex 66 marked and admitted (with redaction).
Cross by Mr. LaFon.
Government calls NICK NEIHAUS; oath given.
Direct by Mr. Goes.
Witness tendered as expert.
Court GRANTS motion that witness be qualified as an expert.
Gov’t Ex 70 marked and admitted.
Gov’t Ex 71 marked and admitted.
Cross by Mr. LaFon.
Mr. Tessman advises that Government intends to rest.
Jury excused at 3:28 p.m.
Court advises Defendant of his right to remain silent and of his right to testify.
Court takes recess at 3:34 p.m.

Court resumed at 3:53 p.m.
Court addresses motions outside of jury presence.
Mr. LaFon moves for acquittal as to Count One.
Mr. LaFon moves for acquittal as to Counts Two, Three and Four.
Mr. Tessman responds as to Count One.
Mr. Tessman responds as to Counts Two, Three and Four.
Mr. LaFon replies.
Court DEFERS ruling.
Jury brought in (4:02 p.m.)
Court gives jury an instruction re: expert witness testimony and fact witness testimony.
Defendant calls KEVIN YOUNG; oath given.
Direct by Mr. LaFon.
Court recessed at 4:41 p.m.
